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                                           EXHIBIT F



             Jay Weidner’s YouTube Show Titled “Reality Check” Title Cards

   May 24, 2019 “Reality Check” YouTube Show hosted by Jay Weidner, with the Title Card
   “Corey Goode Falls Off The…” suggesting that Corey Goode “fall” off a cliff




   June 1, 2019 “Reality Check” YouTube Show hosted by Jay Weidner, with the Title Card
   (again) suggesting that Corey Goode (and colleague and friendDavid Wilcock) be thrown
   off a cliff.
